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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     DAVID BOOKER,                                         Case No. 2:23-cv-00734-JAD-BNW
4                                             Plaintiff                    ORDER
5            v.
6     SANCHEZ, et al.,
7                                        Defendants
8
9           On August 30, 2023, the Court granted Plaintiff an extension of time until October

10   15, 2023, to file a copy of his prison trust-fund account statement for the previous six-

11   month period or pay the full $402 filing fee. (ECF No. 19 at 3). Plaintiff filed a motion for

12   an extension of time because he is still waiting for his documents from inmate accounting.

13   (ECF No. 20). The Court grants the motion for an extension of time. Plaintiff has until

14   November 30, 2023, to submit his prison trust-fund account statement or pay the full

15   $402 filing fee.

16          For the foregoing reasons, it is ordered that Plaintiff has until November 30, 2023,

17   to either pay the full $402 filing fee or file his prison trust-fund account statement for the

18   previous six-month period.

19          Plaintiff is cautioned that this action will be subject to dismissal without prejudice if

20   Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff

21   to refile the case with the Court, under a new case number, when Plaintiff can file a

22   complete application to proceed in forma pauperis or pay the required filing fee.

23
24          DATED: October 19, 2023

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26                                               UNITED STATES MAGISTRATE JUDGE
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